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              Donald J. Trump
              @realDonaldTrump

    Today, President Donald J. Trump agreed to withdraw his March 14, 2025
    Executive Order regarding the Paul, Weiss, Rifkind, Wharton & Garrison LLP law
    firm (“Paul, Weiss”), which has entered into the following agreement with the
    President:


    1. Paul, Weiss agrees that the bedrock principle of American Justice is that it must
    be fair and nonpartisan for all. Our Justice System is betrayed when it is misused to
    achieve political ends.

    Lawyers and law firms play a vital role in ensuring that we live up to that standard
    as a Nation. Law firms should not favor any political party when it comes to
    choosing their clients. Firms also should not make decisions on whom to hire based
    on a person’s political affiliation. To do otherwise is to deny some Americans an
    equal opportunity for our services while favoring others.

    Lawyers abandon the profession’s highest ideals when they engage in partisan
    decision-making, and betray the ethical obligation to represent those who are
    unpopular or disfavored in a particular environment.

    2. Paul, Weiss affirms its unwavering commitment to these core ideals and
    principles, and will not deny representation to clients, including in pro bono matters
    and in support of non-profits, because of the personal political views of individual
    lawyers.

    3. Paul, Weiss will take on a wide range of pro bono matters that represent the full
    spectrum of political viewpoints of our society, whether “conservative” or “liberal.”

    4. Paul, Weiss affirms its commitment to merit-based hiring, promotion, and
    retention, and will not adopt, use, or pursue any DEI policies. As part

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    of its commitment, it will engage experts, to be mutually agreed upon within 14
    days, to conduct a comprehensive audit of all of its employment practices.

    5. Paul, Weiss will dedicate the equivalent of $40 million in pro bono legal services
    over the course of President Trump’s term to support the
    Administration’s initiatives, including: assisting our Nation’s veterans, fairness in the
    Justice System, the President’s Task Force to Combat Antisemitism, and other
    mutually agreed projects.

    Statement from the White House: “The President is agreeing to this action in light
    of a meeting with Paul, Weiss Chairman, Brad Karp, during which Mr. Karp
    acknowledged the wrongdoing of former Paul, Weiss partner, Mark Pomerantz, the
    grave dangers of Weaponization, and the vital need to restore our System of
    Justice.”

    In response to the President’s announcement, Paul, Weiss’s Chairman Brad Karp
    said: “We are gratified that the President has agreed to withdraw the Executive
    Order concerning Paul, Weiss. We look forward to an engaged and constructive
    relationship with the President and his Administration.”
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